            Case 2:18-cv-00791-TC Document 4 Filed 10/10/18 Page 1 of 7



                              United States District Court
                                  District of Utah
D. Mark Jones                                                                     Anne S. Morgan
Clerk of Court                                                                  Chief Deputy Clerk



                                        October 10, 2018



Phillip Kim
THE ROSEN LAW FIRM, P.A.
275 Madison Avenue, 34th Floor
New York, NY 10016
__

Re:    Monther v. Lough, et al
       2:18-cv-00791-TC
       Counsel for: Plaintiff

Dear Counsel:

         Our records indicate that you are not a member of the bar of this court. You must
become an active member of the bar of this court or be admitted pro hac vice in order to appear
in this court, in the above-entitled case.

        Enclosed you will find the application form which is required under our local rules of
practice. You must associate local counsel to submit a motion for pro hac vice admission, your
application, the fee and a proposed order. You will not be added to the case to receive notice
until the order of the court has been signed and docketed. Please make copies of the application
and submit one for each attorney to be admitted. An electronic filing registration form is attached
for submission to the court.

       You may contact the attorney registration clerk at 801-524-6100 with any questions
which you may have.


Sincerely,
D. Mark Jones, Clerk


By:
Nancy Lealaisalanoa
Intake Clerk

Enclosure

      351 S West Temple•Salt Lake City, Utah 84101•(801)524-6100•www.utd.uscourts.gov
           Case 2:18-cv-00791-TC Document 4 Filed 10/10/18 Page 2 of 7



                           United States District Court
                               District of Utah
D. Mark Jones                                                             Anne S. Morgan
Clerk of Court                                                          Chief Deputy Clerk




      351 S West Temple•Salt Lake City, Utah 84101•(801)524-6100•www.utd.uscourts.gov
                    Case 2:18-cv-00791-TC Document 4 Filed 10/10/18 Page 3 of 7




                                        Admission Pro Hac Vice
                                        Instructions and Forms
       Attorneys who are not members of this Court’s Bar may practice before this Court only after having
been admitted pro hac vice pursuant to DU.Civ. Rule 83-1.1 (d). Non-resident attorneys who wish to be
admitted must associate local counsel to sponsor their temporary admission. Local counsel shall move the
admission of the pro hac counsel, and substitute in court if required. Local Counsel must file the following
with the court:

               1.      Motion by local counsel for admission of the pro hac vice attorney
                       This should be filed electronically and the $250.00 fee paid on Pay.gov

               2.      Attached to the motion as an exhibit is the completed application for admission pro hac
                       vice completed by the attorney seeking admission

               3.      Also attached as an exhibit should be a proposed order admitting the attorney.

        Local counsel shall encourage pro hac vice attorneys to submit their electronic filing registration form
as an exhibit to the application, noting that, if the pro hac vice attorney is a registered electronic filer in any
other federal court, he or she will be given a Utah login and password upon order granting the application.

        The forms and fees must be paid for each case to which the attorney seeks admission. Attorneys for
the United States from other districts are exempt from the payment of the $250.00 fee but must comply with
the other requirements of the rule.

HOURS:         The Clerk’s Office business hours are 8:30 a.m. to 4:30 p.m., Mountain Standard/Mountain
               Daylight Time.

PHONE:         Call the Clerk’s Office at 801-524-6100

WEBSITE:       Visit the court’s web page at http://www.utd.uscourts.gov for basic information on the court,
               local rules, and forms.

FILINGS:       The Court does not accept faxed filings. Affidavits submitted as separate original filings must
               bear an original signature.

E-FILING:      The Court mandated e-filing for all cases on May 1, 2006.
               The court will e-mail rather than mail orders, judgments and notices.

COPIES:        Orders for copies of case documents must be prepaid. The Clerk’s Office accepts MasterCard,
               Visa, Discover and American Express.

DOCKETS:       Case dockets are accessible through PACER at http://ecf.utd.uscourts.gov. Charges are based
               on the number of pages accessed at $.10 per page. You may register online at
               http://pacer.psc.uscourts.gov or call the PACER Service Center at 800-676-6856.
                   Case 2:18-cv-00791-TC Document 4 Filed 10/10/18 Page 4 of 7




Counsel Submitting and Utah State Bar Number
Attorney For
Address
Telephone

                             UNITED STATES DISTRICT COURT
                                      District of Utah

___________________________________________________________________________
                                             *
________________________________________     * Motion for Pro Hac Vice Admission and
                 Plaintiff                   * Consent of Local Counsel
                                             *
                    v.                       *
                                             *
_________________________________________    * Case No.
                 Defendant.                  *
________________________________________________________________________________________



        Pursuant to D.U. Civ Rule 83-1.1(d), I move the admission of ___________________ as pro hac vice

counsel for ____________________ ( Plaintiff/Defendant) and consent to serve as local counsel.        The

application for pro hac vice admission is attached as exhibit A to this motion, an Electronic Case Filing

Registration Form as exhibit B, and the admission fee, if required, has been paid to the court with the

submission of this motion.




Dated
                                                             ________________________________
                                                                   Signature of local counsel
                Case 2:18-cv-00791-TC Document 4 Filed 10/10/18 Page 5 of 7


       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                           APPLICATION FOR ADMISSION PRO HAC VICE

Name of Attorney:     ____________________________              Telephone:_______________
Firm Name:            ____________________________
Business Address:     ____________________________
                      ____________________________
                      ____________________________


Current bar memberships and date of admission:
       Jurisdiction                       Bar Number
       _____________________ ______________________                  Admitted on______________
       _____________________ ______________________                  Admitted on______________
       _____________________ ______________________                  Admitted on______________
       _____________________ ______________________                  Admitted on______________

       Have you ever been the subject of disciplinary action by any bar to which you have been
       admitted?
                            ____ No                 ____Yes ( provide additional information)

       Prior pro hac vice admissions in the District of Utah:                      ______ none

       Case Name:_______________________________________________________________
       Case Number:____________________
       Admission Date:__________________

       (Attach list of other cases separately if more space is needed.)

        I certify that I am a member in good standing of all bars to which I have been admitted. I further
agree to read and comply with the Utah Rules of Professional Conduct and the Utah Standards of
Professionalism and Civility. This certification that the foregoing is true and correct is made under
penalty of perjury.



       __________________________                                    _____________________
       Signature                                                     Date


Non resident United States attorneys and attorneys employed by agencies of the federal government are
exempt from the pro hac vice fee. All other attorneys must pay a fee of $250.00 concurrent with this
application. This application must be filed as an attachment to a motion for admission and consent filed
by local counsel.

      If you have not previously registered for CM/ECF in the District of Utah, please attach a
completed Electronic Case Registration Form with this application to receive your login and password.
               Case 2:18-cv-00791-TC Document 4 Filed 10/10/18 Page 6 of 7



                           UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH
___________________________________________________________________________________
                                    :
___________________________,        :
      Plaintiff                     :
                                    :     ORDER FOR PRO HAC VICE ADMISSION
         v.                               :
                                    :
___________________________,        :
      Defendant                     :     Case Number

_____________________________________________________________________________



       It appearing to the Court that Petitioner meets the pro hac vice admission requirements of DUCiv

R 83-1.1(d), the motion for the admission pro hac vice of ___________________ in the United States

District Court, District of Utah in the subject case is GRANTED.




Dated: this________day of ____________, 20______.


                                                   _________________________________
                                                   U.S. District Judge
                    Case 2:18-cv-00791-TC Document 4 Filed 10/10/18 Page 7 of 7
                                  UNITED STATES DISTRICT COURT
                                         DISTRICT OF UTAH
                ELECTRONIC CASE FILING REGISTRATION FORM
Attorneys who are active or current pro hac vice members of the District of Utah’s Bar may register for the
District of Utah E-Filing System by (i) completing the required training and (ii) signing and returning this form to
the Court. Please review carefully the registration conditions set forth below before signing.
________________________________________________________    _____________________________________________________________________
Name - First                                                                Middle               Last
                                                                                  Firm Name

________________________________________________________    _____________________________________________________________________
                                                                                  Mailing Address
                                                                                          City, State, Zip

_____________________________________________                            _____________________________________________________
                                                                             Utah State Bar # (if applicable)
                                                                                         Telephone Number

By signing this form, I understand and consent to the following:
    -Pursuant to Fed. R. Civ. P. 5(b)(2)(E), I will receive all items required to be served under Fed.R.Civ.P. 5(a) and 77 (d) and
    Fed. R. Crim P. 49 by either (i) notice of electronic filing, or (ii) e-mail transmission;
    -Such electronic service will constitute service and notice of entry as required by those rules;
    -I waive my right to service by USPS mail;
    -I will abide by all Court rules, orders, and procedures governing the use of the electronic filing system;
    -The combination of user ID and password issued by this Court will serve as the equivalent of my signature when I e-file
    documents with the Court;
    -I will carefully examine all documents prior to e-filing them to either (i) redact sensitive and private information pursuant to
    DUCiv R , or (ii) move that the filing be sealed; and
    -I will secure and protect my Court-issued password against unauthorized use or compromise.
Email Address(es):
Primary E-mail address ______________________________________________________________
Up to two additional e-mail addresses 1)_______________________________________________________ ,
2) __________________________________________________________________________
To receive a login, please complete one of these four options. Please check appropriate box.

 ☐      I have completed the CMECF Online Computer-Based Training modules on the court website at
 http://www.utd.uscourts.gov/online-computer-based-training-cmecf

 ☐     I have completed the CMECF Training for Attorneys given by an in-house trainer in my firm.

 ☐     I have an ECF account in the Utah Bankruptcy Court or in another Federal District or Bankruptcy Court.

 ☐     I have attended CMECF Training given by the Court.

Date: _________________________                  Signature:____________________________________
Please complete this form, and submit it by one of the following methods:
1. Mail the form to: United States District Court, Office of the Clerk, ATTN: CM/ECF Registration, 351 S. West
Temple, Salt Lake City, Utah 84101, or
2. Scan and email to ut_support@utd.uscourts.gov, or
3. Include this form as a pdf attachment with your Application for Pro Hac Vice.
After this Court processes this form, you will receive by email your user ID and password that will enable you to
access the system. The User Guide and administrative procedures for system use may be downloaded at:
http://www.utd.uscourts.gov/cmecf-electronic-case-filing. Please call the Clerk’s Office Help Desk at (801) 524-
6851 if you have questions concerning registration, training, or use of the electronic filing system.
                                                                                                                       Rev. 6/14/17
